
724 S.E.2d 927 (2012)
BLUE RIDGE SAVINGS BANK, INC.
v.
MITCHELL, et al.
No. 98A12-1.
Supreme Court of North Carolina.
May 11, 2012.
Frank G. Queen, Waynesville, for Mitchell, Guy, et al.
J. Scott Taylor, for Mitchell, Guy, et al.
James W. Kilbourne, Jr., Asheville, for Blue Ridge Savings Bank, Inc.
The following order has been entered on the motion filed on the 10th of May 2012 by Defendant:
"Motion Allowed by order of the Court in conference, this the 11th of May 2012."
Defendant shall have up to and including the 15th day of May 2012 to file and serve his/her brief with this Court.
